                   VIRGINIA DEPARTMENT OF CORRECTIONS                        038.1 A-4
                                                                             DOC Location: WRSP Wallens Ridge State
                                                                             Prison
                   Internal Incident Report
                                                                             Report generated by Harris, D C
                                                                             Report run on 02/22/2021 at 04:33 PM




Internal Incident Number:     Date/Time of Incident:      DOC Location:
IIR-WRSP-2020-002305          August 17, 2020 @ 11:00     Wallens Ridge State Prison
                              AM
Reporting Staff:              Dean, Jason C               Title/Shift:    Corrections officer, B
                                                                          Break, Day
Date Reported:                08/17/2020                  Time:           12:06 PM
Offenders Involved:                                Phillips, Anwar R                               A-4-408-B
Staff Involved:
Visitors Involved:                                             Others Involved:
Type of Incident:    Fighting between incarcerated offenders
Location of Incident:         Cell - A-4
Gang Related:                 No                          Confidential: No                         PREA:       No
Description of Incident:
On the above date and approximate time I officer J. Dean assisted Sgt. Marcum with escorting offender A. Phillips       from
A-408 to D-1 pod. We placed Phillips in D-1 shower where he was strip searched and then placed him into D-101 without
incident. End of report.
Notifications:
Name:                                                     Title:                           Date/Time Notified:


Approved By:                  Hobbs, Jerry W              Title:          Lieutenant
Action Taken:                 Approved                    Review Date: 08/17/2020
Investigation:                No                          Assigned to:
Comments:




                                                        Page 1 of 1
                                                                                   ENCLOSURE A
                   VIRGINIA DEPARTMENT OF CORRECTIONS                         038.1 A-4
                                                                              DOC Location: WRSP Wallens Ridge State
                                                                              Prison
                   Internal Incident Report
                                                                              Report generated by Harris, D C
                                                                              Report run on 02/22/2021 at 04:35 PM




Internal Incident Number:     Date/Time of Incident:      DOC Location:
IIR-WRSP-2020-002306          August 17, 2020 @ 10:45     Wallens Ridge State Prison
                              AM
Reporting Staff:              Ward, Craig                 Title/Shift:    correctional officer, B
                                                                          Break, Day
Date Reported:                08/17/2020                  Time:           11:14 AM
Offenders Involved:
Staff Involved:             Ward, Craig                                      correctional officer
Visitors Involved:                                             Others Involved:
Type of Incident:    Fighting between incarcerated offenders
Location of Incident:         GP Dayroom - A-4
Gang Related:                 No                          Confidential: No                          PREA:       No
Description of Incident:
I Officer C.Ward on the above date and time stepped into A-4 pod where I noticed offender V. Woodhouse #1031027 had blood
on his face and 2 cuts. At this time I placed offender V. Woodhoue in restraints. End of report.
Notifications:
Name:                                                     Title:                           Date/Time Notified:


Approved By:                  Hobbs, Jerry W              Title:          Lieutenant
Action Taken:                 Approved                    Review Date: 08/17/2020
Investigation:                No                          Assigned to:
Comments:




                                                        Page 1 of 1
                   VIRGINIA DEPARTMENT OF CORRECTIONS                            038.1 A-4
                                                                                 DOC Location: WRSP Wallens Ridge State
                                                                                 Prison
                   Internal Incident Report
                                                                                 Report generated by Harris, D C
                                                                                 Report run on 02/22/2021 at 04:36 PM




Internal Incident Number:     Date/Time of Incident:          DOC Location:
IIR-WRSP-2020-002307          August 17, 2020 @ 10:40         Wallens Ridge State Prison
                              AM
Reporting Staff:              Stallard, Joseph B              Title/Shift:    Unit Manager, B
                                                                              Break, Day
Date Reported:                08/17/2020                      Time:           10:40 AM
Offenders Involved:                                    Phillips, Anwar R                                A-4-408-B
Staff Involved:              Stallard, Joseph B                                  Unit Manager
Visitors Involved:                                                 Others Involved:
Type of Incident:    Referral to Restrictive Housing
Location of Incident:         GP Dayroom - A-4
Gang Related:                 No                              Confidential: No                          PREA:      No
Description of Incident:
Offender Phillips           has been placed in RHU under GDT status. Charged with a 239b ( simple assault upon non- offender
). Referred to MDT to determine appropriate housing.
Notifications:
Name:                                                         Title:                            Date/Time Notified:


Approved By:                  Smith, Timothy B                Title:          Corrections
                                                                              Lieutenant
Action Taken:                 Approved                        Review Date: 08/17/2020
Investigation:                No                              Assigned to:
Comments:                     I Lieutenant Smith approve for offender A. Phillips #             to be
                              placed in RHU on GDT status, for simple assault.




                                                            Page 1 of 1
                   VIRGINIA DEPARTMENT OF CORRECTIONS                              038.1 A-4
                                                                                   DOC Location: WRSP Wallens Ridge State
                                                                                   Prison
                   Internal Incident Report
                                                                                   Report generated by Harris, D C
                                                                                   Report run on 02/22/2021 at 04:29 PM




Internal Incident Number:       Date/Time of Incident:        DOC Location:
IIR-WRSP-2020-002308            August 17, 2020 @ 10:40       Wallens Ridge State Prison
                                AM
Reporting Staff:                Marcum, Steven T              Title/Shift:     Corrections Sergeant,
                                                                               B Break, Day
Date Reported:                  08/17/2020                    Time:            01:03 PM
Offenders Involved:                                   Phillips, Anwar R                                A-4-408-B
                               1031027                Woodhouse, Vincent L                             A-4-412-B
Staff Involved:                Dean, Jason C                                       Corrections Officer
                               Marcum, Steven T                                    Corrections Sergeant
                               Ward, Craig                                         Corrections Officer
Visitors Involved:                                                 Others Involved:
Type of Incident:     Simple Assault
Location of Incident:           GP Dayroom - A-4
Gang Related:                   No                            Confidential: No                         PREA:         No
Description of Incident:
Synopsis: On August 17, 2020 at 10:40 AM a simple assault occurred during A-4 pod recreation. After reviewing the camera
footage, it was determined that offender A. Phillips         and V. Woodhouse #1031027 were near the pod showers when
Phillips hit Woodhouse with a closed fist. Offender Woodhouse made no attempt to become involved in the incident. Offender
Phillips was placed in Restrictive Housing and charged with 239b simple assault. No force utilized during this incident. No Staff
injured.

Narrative: On August 17, 2020 at 10:40 AM A-4 pod was conducting pod recreation. Offender A. Phillips                    and offender
V. Woodhouse #1031027 were having a conversation near the pod showers. Officer Ward was conducting rounds when he
noticed that offender Woodhouse came from the pod shower with blood on his facial area. Sergeant Marcum was called to the
pod via radio by Officer Ward. Offender Woodhouse stated that he had been struck by offender Phillips during pod recreation.
After reviewing the camera footage it was determined that offender Phillips struck offender Woodhouse with a closed fist,
knocking him to the floor. Phillips struck Woodhouse one time after he was on the floor. At no time did Woodhouse attempt to
become involved in the altercation. After offender Phillips walks away from the area, offender Woodhouse attempts to go inside
the shower to wash his face. Offender Phillips returns to his cell at this time without any further incident. No force utilized during
this incident.

Sergeant Marcum and Yard Officer J. Dean escorted offender Woodhouse to medical. Offender Woodhouse was offered medical
treatment. Medical LPN Spears noted, “Assessed offender after altercation offender 3 wounds/lacerations to face wounds
cleaned and sutured by Dr. Mullins. No bleeding or bruising noted.” Offender Woodhouse was properly strip searched and
returned to his assigned cell.

Sergeant Marcum and Yard Officer J. Dean escorted offender Phillips to medical. Offender Phillips was offered medical
treatment. Medical LPN Spears noted, “Assessed offender following altercation offender with small wound on right hand.
Bleeding under control. Wound cleaned band aid applied.” Offender Phillips was escorted to restrictive housing and properly strip
searched in the pod shower. Offender Phillips was then placed in cell D-101 without further incident. He is charged with a 239b
simple assault upon an offender.

No force Utilized during this incident.

OLU Lt. Darden notified at 12:25 PM.

                                                            Page 1 of 2
Notifications:
Name:                                             Title:                      Date/Time Notified:
Anderson, David E                                 Assistant Warden            August 17, 2020 @ 12:20 PM
King, Christopher B                               Major                       August 17, 2020 @ 12:20 PM
Reynolds, Quinn C                                 ADO                         August 17, 2020 @ 12:20 PM
Zook, David W                                     Warden                      August 17, 2020 @ 12:20 PM
Darden, Timothy O                                 OLU                         August 17, 2020 @ 12:25 PM
Approved By:                   Hobbs, Jerry W     Title:         Lieutenant
Action Taken:                  Approved           Review Date: 08/17/2020
Investigation:                 No                 Assigned to:
Comments:




    Internal Incident Report                    Page 2 of 2
    Report run on 02/22/2021 at 04:29 PM
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                                              Health Services Complaint and Treatment Form 720_F17_7-I2


                       Health Services Complaint and Treatment Form
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                        DEPARTMENT OF CORRECTIONS
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                                                                Health Services Complaint anr Treatment Form 720_F17 7-12


                                         Health Services Complaint and Treatment Form
^Facility:                                             WALLENS RIDGE STATE PRISON
        Offender Name;                                                                               Number:
                                              Last                            First
               Date/Time                             Complaint and Treatment                            Signature and Title
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                                                                                                               Revision Date: 2/23/07
ENCLOSURE C
ENCLOSURE D
                                                                 Offender Management and Programs

                                                                     Operating Procedure 830.6

                                                                 Offender Keep Separate Management
                                                                                  Authority:
                                                                   Directive 830, Classification Management

                                                                      Effective Date: August 1, 2020

                                                                                   Amended:
                                                                                  Supersedes:

           Virginia                                                 Operating Procedure 830.6, May 1, 2017
                                                                      Access:       Public       Restricted


          Department
                                                                                Incarcerated Offender
                                                             ACA/PREA Standards:
                                                             5-ACI-3D-08, 5-ACI-4A-05; 4-4251, 4-4281;

              of
                                                             §115.62




          Corrections
Content
Owner:
              Jim Parks
              Director of Offender Management Services
                                                            Signature Copy on File                        7/9/20
                                                                            Signature                         Date

Reviewer:
              Jermiah Fitz, Jr.
              Corrections Operations Administrator
                                                            Signature Copy on File                       7/16/20
                                                                            Signature                         Date

Signatory:
              A. David Robinson
              Chief of Corrections Operations
                                                            Signature Copy on File                       7/20/20
                                                                            Signature                         Date


 REVIEW
 The Content Owner will review this operating procedure annually and re-write it no later than three years after
 the effective date.

 COMPLIANCE
 This operating procedure applies to all units operated by the Virginia Department of Corrections. Practices and
 procedures must comply with applicable State and Federal laws and regulations, ACA standards, PREA
 standards, and DOC directives and operating procedures.




                                                   Page 1 of 7                     ENCLOSURE E
Operating Procedure 830.6, Offender Keep Separate Management                                                                  Effective Date: August 1, 2020


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DEFINITIONS
Co-Defendants - DOC offenders who committed the same felony offense (or portions of the same offense) and
where there is a verified, documented reason to believe these offenders may have a conflict with one another
while incarcerated
Keep Separate - A classification action whereby an offender is not to be housed at a specific location, or with
access to specific DOC staff, or offender; a “Keep Separate” determination is not required but may be based on:
• Two or more offenders who are a serious threat to one another as demonstrated by a verified, prior,
    aggravated assault (or contract for assault) where serious harm or death was clearly the intent of the
    aggressor
• One offender has testified against another offender in court and the offender's conviction and/or length of
    sentence was likely influenced by the testimony
• An offender's felony was committed against DOC staff, another offender, or the immediate family of the
    staff or offender
• The offender is a family member, friend, and/or prior associate with a DOC staff member
• The offender’s crime was committed against a current or former institutional employee or in the locality
    where the institution is located
• The offender is subject to a substantial risk of sexual abuse from a specific, identified offender (§115.62)
Relatives - DOC offenders who have first generation relationships, including step relationships e.g., brothers,
sisters, father and son, mother and daughter and where there is a verified, documented reason to believe that
these offenders may have a conflict with one another while incarcerated
Serious Management Problems - Disputes between DOC offenders at a particular institution of such
significance as to warrant an Incident Report and/or disciplinary charge(s) and temporary assignment to
restrictive housing for one or both parties




        VIRGINIA DEPARTMENT OF CORRECTIONS                                                            Page 3 of 7
     Operating Procedure 830.6, Offender Keep Separate Management                       Effective Date: August 1, 2020


     PURPOSE
     This operating procedure establishes a standardized system of identifying, verifying, and documenting offender
     Keep Separate needs within institutions operated by the Department of Corrections (DOC).

     PROCEDURE
I.       Immediate Separation of Offenders
         A. Any staff member who becomes aware of a possible need to separate offenders should immediately
            notify the Shift Commander or administrator on duty.
         B. When the Shift Commander or higher authority determines there is an immediate need to separate
            offenders because a potentially dangerous situation exists, or because there may be an escalation of a
            conflict and the safety of staff or offenders may be threatened, they must take appropriate measures to
            protect those offenders involved and maintain the security of the institution. (5-ACI-3D-08; 4-4281)
            1. Appropriate measures may include but are not limited to internal separation or placement on General
               Detention in a restrictive housing unit; see Operating Procedure 841.4, Restrictive Housing Units.
            2. It is the responsibility of each Shift Commander or higher authority to assign keep separate claimants
               to restrictive housing on General Detention only after all other alternatives have been ruled out and
               the safety of staff or offenders may be threatened. (5-ACI-4A-05; 4-4251)
            3. Offenders placed in General Detention will be referred for an Institutional Classification Authority
               (ICA) hearing to review the case and make a recommendation regarding the need for assignment to
               restrictive housing, Keep Separate documentation, or other actions.
         C. When the Shift Commander or higher authority receives information related to a possible Keep Separate
            situation that does not require immediate separation of the offenders involved, the Shift Commander or
            higher authority should forward the information to the Institutional Investigator or other appropriate
            staff for investigation and evaluation.
II.      Evaluation and Investigation of Keep Separate Situations
         A. The Institutional Investigator or other appropriate investigating staff will gather information and
            investigate keep separate situations as needed.
         B. Administrative Separation
            1. Occasionally, it is necessary to separate offenders who have not claimed problems with one another,
               but rather whose prior conflicts and physical proximity to one another may lead to further disruptive
               behavior and serious management problems e.g., co-defendants, relatives, etc.
            2. Supervisory or Management staff only can refer an offender to the ICA for administrative action to
               assign a keep separate status due to enemies, co-defendants, and relatives:
               a. The staff member should document the separation reason requested i.e., serious threat to one
                  another, co-defendants, relatives, etc.
               b. The staff member must provide documentation of each incident that led to the need for
                  separation.
               c. Offenders must not be involved in the threat evaluation or notified of the results of any
                  administrative action to assign a keep separate status.
            3. All such actions require review by Central Classification Services.
         C. Offender Keep Separate Claims
            1. An offender claiming another offender as a keep separate should be required to provide investigating
               staff with sufficient information to properly identify the claimed keep separate, including the
               following elements:
               a. Offender's name and DOC number, if known

             VIRGINIA DEPARTMENT OF CORRECTIONS                                                             Page 4 of 7
  Operating Procedure 830.6, Offender Keep Separate Management                        Effective Date: August 1, 2020


             b. Nickname, if any
             c. Physical description - Where necessary and feasible, an identifying photograph may be used.
             d. Location, if known
             e. Known associates with other offenders or offender groups
             f. Specific circumstances which led to the claim
             g. Any other relevant information
         2. Offender Interviews
            a. Investigating staff will interview the offender and evaluate the offender's keep separate claim in a
               timely manner.
            b. The offender should provide as much information as possible, including any means of verifying
               the keep separate claim.
         3. Investigation
            a. Investigating staff will attempt to verify the situation that led to the keep separate claim; and
               should document or log all verification attempts to include the names of all contacts made.
            b. Care should be taken to ensure that disclosure of the claimant's identity is not made to other
               offenders involved if it may place the claimant or other offenders at greater risk.
            c. When the investigation finds sufficient evidence that a disciplinary offense has been committed, it
               is the responsibility of investigating staff to initiate appropriate disciplinary charges. Conviction
               of the disciplinary charge then becomes the basis for possible offender separation.
         4. Staff evaluating keep separate claims for validity should rely on specific, documented evidence,
            provided by staff, reliable offender witnesses, incident reports, disciplinary charges, pre-sentence
            investigations, court records, jail records, and correspondence from the Office of the
            Commonwealth's Attorney or Attorney General, etc.
         5. The investigating official must determine if a keep separate claim should initiated, once the
            offender’s keep separate claim is investigated and evaluated. A keep separate claim should be
            initiated where there is verified evidence of the following:
            a. A potentially life threatening assault has been made on the claimant or a contract has been sought
                to seriously harm, maim, or kill the reporting offender
            b. The claimant testified in court against another DOC offender and the offender's conviction and/or
                length of sentence was likely influenced by the claimant's testimony. In the case of one co-
                defendant testifying against another, there should be clear and substantial evidence that one
                defendant's testimony influenced the decision of the court.
            c. The claimant's crime was committed against another DOC offender or the offender’s immediate
                family.
III.   Keep Separate Determination
       A. Summary Report
         1. The investigating staff member must prepare documentation, investigation report preferred,
            containing a summary of the situation, the steps taken to investigate and evaluate the situation, and
            the staff member's conclusions regarding the need for a keep separate determination.
         2. When investigating staff recommend approval of a keep separate claim, the staff member must
            provide documentation to validate each incident leading to the need for separation.
         3. The summary report and all supporting documentation must be submitted to the ICA for
            consideration during the ICA hearing.
       B. ICA Review
         1. The ICA will conduct a hearing to review the information provided and will render a decision to
            approve or disapprove the keep separate determination; see Operating Procedure 830.1, Institution

          VIRGINIA DEPARTMENT OF CORRECTIONS                                                              Page 5 of 7
 Operating Procedure 830.6, Offender Keep Separate Management                           Effective Date: August 1, 2020


            Classification Management.
         2. Where the summary report and investigation results show insufficient supporting documentation to
            validate the incident that led to the need for separation, the ICA should recommend disapproval.
         3. The Summary Report and other relevant documents should be uploaded as external documents to the
            VACORIS ICA hearing record.
      C. Management Review
         1. When the Facility Unit Head or designated review authority recommends approval or a change in an
            offender’s keep separate classification, the decision will be escalated to Central Classification
            Services (CCS) for final disposition.
         2. Facility Unit Head or designee disapprovals are final and are not escalated for CCS for review.
         3. CCS will document the final disposition in VACORIS.
      D. Offender notification
         1. Appropriate institutional staff will notify the offender in writing of the final decision on approval and
            disapproval of offender initiated keep separate claims.
         2. Offenders must not be notified of keep separates added by administrative request.
IV.   Offender Reassignments
      Upon final CCS action on a keep separate situation, the institution should take the following actions:
         1. Offenders approved for Keep Separate status must be separated at all times and should not be placed
            in the same institution except at Security Level 5 and Security Level S institutions where adequate
            security restrictions should prevent offenders from ever coming in contact except in a closely
            monitored area.
            a. If a keep separate claim was initiated due to an assault, the aggressor should be recommended for
                transfer so that the victim may be returned to the general population as quickly as possible.
            b. Under other keep separate circumstances, the institution should determine the appropriate party to
                transfer.
         2. When CCS disapproves a keep separate claim for an offender assigned to restrictive housing, the
            offender should immediately be reviewed for return to the general population.
            a. If deemed appropriate, institutional staff may desire to separate such offenders internally within
               their general population.
            b. Offenders who refuse to return to the general population should be evaluated for assignment to
               the Steps to Achieve Reintegration (STAR) Program; see Operating Procedure 830.5, Transfers,
               Institution Reassignments.
V.    Deleting Keep Separate Information
      A. It is important that staff carefully evaluate offender requests to delete a keep separate designation.
         1. Offenders may request to delete only those offenders who are listed as a keep separate, based solely
            on the requesting offender's keep separate claim.
         2. The offender must submit a written request, preferably notarized, to the Counselor.
         3. At each offender's annual review, the Counselor should encourage deletion of those offenders who
            are no longer valid keep separates.
      B. Counselor Evaluation
         1. The Counselor will evaluate the offender’s request for validity in the same manner as for adding a
            keep separate and must submit a summary report to the ICA.
         2. Verification with other institutions may be necessary to determine the specifics regarding an incident

         VIRGINIA DEPARTMENT OF CORRECTIONS                                                                 Page 6 of 7
 Operating Procedure 830.6, Offender Keep Separate Management                          Effective Date: August 1, 2020


            that led to the initial keep separate status; however, care should be taken to ensure confidentiality in
            situations where the other offender is not aware of having been claimed as a keep separate.
      C. Management Review
         1. The ICA and the Facility Unit Head or designated authority will conduct a review as outlined in this
            operating procedure for adding a keep separate.
         2. Once CCS has approved or disapproved the keep separate deletion and has entered the decision in
            VACORIS, the offender’s Counselor must notify the offender of the final decision.
      D. Non-Keep Separate Reviews
         1. The institution administration and CCS should periodically review any issues where a keep separate
            claim was disapproved in order to determine if there has been any change in the situation.
         2. If the review indicates that the issues no longer exists, the Facility Unit Head may request that the
            listed offenders' separation status be deleted.
         3. Such actions are to be fully justified and reviewed by CCS for deletion.
VI.   Initial Classification Keep Separate Checks
      A. Reception Center and other intake unit staff will interview newly received offenders as to any known
         keep separates in the DOC.
         1. Keep separate claims will be investigated and evaluated in accordance with the requirements of this
            operating procedure.
         2. Only those offenders with a DOC number can be entered as a keep separate in VACORIS.
         3. Potential keep separate situations for jail offenders without a DOC number should be documented
            for a follow-up review in the offender's record.
VII. Parole Violator Keep Separate Checks
      Reception Center staff should ensure that previously identified keep separate information is re-verified and
      sent to CCS for final review.
VIII. Confidentiality
      A. Except where otherwise authorized in this operating procedure, keep separate information is not to be
         disclosed to offenders.
      B. Under no circumstances are offenders allowed to view or receive a copy of information in VACORIS or
         any other documentation of a keep separate situation.
IX.   Offender Appeals
      Offenders may appeal the decision on their keep separate claim through the Offender Grievance Procedure.

 REFERENCES
 Operating Procedure 830.1, Institution Classification Management
 Operating Procedure 830.5, Transfers, Institution Reassignments
 Operating Procedure 841.4, Restrictive Housing Units

 ATTACHMENTS
 None

 FORM CITATIONS
 None

         VIRGINIA DEPARTMENT OF CORRECTIONS                                                                Page 7 of 7
